207567 2889

1i-Oot-2012 Clinical Reference Laboratory 42:44

N CHEK #1700667123, #1702005163, samysa #0007, CAP #30211-03

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Seeing teseewe CONSORT NAME: 2013672089 ~~ SAMPLE ID: 83435759

BAVID PAINE MD DOB: NYS w COLLECTED: 10/09/12
COMPOURD OE SSH/ID: Gin RECEIVED: 16/10/12
CHINSON, KS é9502 SENDER: N/S REPORTED: 10/41/12

C SLIP ID: 20t8672aa9 RAL: (620) 64-5594

FH: (866) 38o-a14 REP ID: CORAOPOLIS #110

COLL. SITE ID: Ny/s SRANCH: ENTERPRISE TRANSPORTATION

COLL PHOME: 4124944559
REASON FOR TESTING: RANDDe
SAMPLE TYPE: SAMHSA DRUG scRERW

Meating authority; Federal Motor Carrier Safety Acministration

Gobi. NAME: SELEY WrutetM
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THETLAL tee RESULT / STATUS CUTORR/ERPECIED VaLoes
LAM He sxMINE (CLASS) SCR {800) .....0). NEGATIVE 500 ng/mt
RCSTASY gcRBEN (506) .......,  Neaarryn 500 ng/m,
SCOCAING METAROLITR sor (150) ........ weenetye 150 ne/mr,
OPIATES SCREEN (2000) ......., NEGATIVE 2000 ng/mn

SJUANA METABOLTTE teseeeee «© POSTRIVE §0 ng/nn
AM SCREEN (10) ..0...., gage 10 ng/mn

_-RBENCICLIDIne teeeeees | NEGATIVE 25 ng/mt

COMB rRMArZON RESULT / stratus CUROPE VALUR

— tt ane atm toga Oe a a enue te

ots ATARTIONNA METADOLIVE 29 POSITIVE 15 ng/mh
Oo

ee
a RESPONSIBLE PERSON; JoEN TRVING, MS. RP
LL
3 REPORT CRAGIFIED BY LYUDMTLA BURDYUGOVA
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8433 Quitita Road, Lencaa, Kansas 66215, (913) 492-3659

FCB: CLS .pre grec

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Case 1:15-cv-00701-JWF Document 60-11 Filed 08/30/18 Page 2 of 2

2 Met

§ 40.27 What are the cutoff concentrations for drug tests?
(a) Asa labormory, you yaust use the culoff concentrations tisplayed in the foliowing table for
initial and
coufinmatory drug tests. Alt cutoff concentrations are expressed in nenogmams per milliliter (ng/mL), The
table follows:

fuitiat teat analyte Initial teat cutoff concentration | Confirmatory test analyte | Conftematory test cutoff concentration
Marijana metabolites $0 ngfink THC! LS agin.
Cocaine metabolines SG ng/mL Banzoylecponice 100 ng/mL.
(Opiate metabolites
KCodvinyMaphine? 2600 ngfal. Codeine 2060 ng/mt..

__ Morphine 2000 ng/nb,
6~Acatylmorphine Woe/mL 6-Actrybnorphing {Cup
Phencpelidioe 25 nefmL Pheneyclidine 25 ng/mL.
(Amphetamines?

AMP/MAMP* 500 ng'mL Amphetamine 250 nefmL.
Methamphetamine’ 250 nevi,

IMPMA? 500 ng/ml. MDMA 250 ng/mL.
MDa’ 250 ng/mL.

Mpa? 256 ng/ml.

"pelta-9-tetrahydrocannabinol-9-carboxy lic acid (THCA).

' Morphine ix the target analyte fon codeinc/morphine testing.

Hither a single initial west kit or amltiple initial test kite may be used provided the single test kit
detects each target analyte independently at the specified curctf.

“Methamphetamine is the uirgel acalyte for ensphelamine/methamphelamine twsting.

*robe reported positive fhr methamphetanine, a spectmen must also contain wuphetamine ata
concentation equal in ns greater than JOG ng/ml.
®Methylenediaxymerhamphetamine (MDMA),
Methylenedioxyamphetamine (MDA).
enedinxyrilyfamphetamine (MUBA).

Pay Haney ae

wht 1, oe oY of noe te

(b) On an initial drug teat, you must report a result below the cutofFronceatration as negative.
Ifthe resull is af or above the cusofEconcenmation, you must coaduct 4 son firmacion wet.

(c) On a confirmation drag test, you mst report a result below the cutoff concentration as
aspative and a result at or above the cutoff concentration as confirmed p

(@) You must report quantitative valucg for morphine or codeine at 15,000 ag/ml. or above.
(65 FR. 79526, Dec. 19, 2000, ax azncnded ot 75 FR 49862, August £6, 2010; 77 TR 26473, May 4, 2012]

§40.177 What does the sceoud laboratory do with the split specimen when it is tested
to reconfirm the presence of a drug or drug metabolite?
{e) Ag the Jaboratary testing the split specimen, you must test the split specimen for he
drug(sdrug metabolite(s)
detecsed in the primary apecirnen,
(b) You must conduct this test withoutregard 0 the cutoff concenmations of $40.87,
(c} If the test fails to reconfirm the presence of the drug(sVdrug metabolite(s) chat were
reported pusitive in the primary specimen, yau oiust conduct validity testa tn an attenupt 4u determine

